Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 1 of 7
Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 2 of 7
Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 3 of 7
Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 4 of 7
Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 5 of 7
Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 6 of 7
Case 1:10-cv-23809-JLK Document 1 Entered on FLSD Docket 10/21/2010 Page 7 of 7
